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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
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11    WILLIAM E. WATKINS,

12                          Plaintiff,                            CASE NO. C09-163RSM

13                   v.                                           ORDER GRANTING SUMMARY
                                                                  JUDGMENT
14    UNITED HEALTHCARE, INC.,

15                          Defendant.

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17          This matter comes before the Court for consideration of defendant’s motion for summary

18   judgment. Dkt. # 14. Plaintiff, who is represented by counsel, has failed to oppose the motion in any

19   way. The Local Rules of this Court provide that this failure may be deemed an admission that the

20   motion has merit. Local Rule CR 7(b)(2). The Court so deems plaintiff’s failure to respond, and

21   accordingly GRANTS the motion for summary judgment. This action is DISMISSED.

22          The Clerk shall enter judgment in favor of defendant and close the file.

23          DATED this 9 day of November 2009.

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26
                                                         A
                                                         RICARDO S. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE
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     ORDER - 1
